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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OKLAHOMA

   1. PIPELINE INDUSTRY PENSION
      FUND
                                                            CIVIL ACTION NUMBER:

   2. PIPELINE INDUSTRY BENEFIT FUND                        4:19-cv-00620-CVE-FHM

   3. PIPELINE INDUSTRY ANNUITY
      401(K) PLAN

   4. LOCAL 798 TRAINING CENTER

   5. PIPELINERS LOCAL UNION No.
   798

   Versus

   1. VOSHELL BROTHERS
   WELDING, INC.

   2. GALE VOSHELL


                                   COMPLAINT
               (FOR BREACH OF COLLECTIVE BARGAINING AGREEMENT AND
                   FOR COLLECTION OF DELINQUENT CONTRIBUTIONS)

          1.      This is an action brought pursuant to Sections 502 and 515 of the Employee

   Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§ 1132 and

   1145, and § 301 of the Labor Management Relations Act (“LMRA”), 29 U.S.C. § 185.

                                           I. PARTIES

          2.      Plaintiff, PIPELINERS INDUSTRY PENSION FUND (“Pension Fund”), is an

   “employee pension benefit plan” as defined in § 3(2)(A)(i) of ERISA, as amended, 29 U.S.C.

   § 1002(2)(a)(i), established by the United Association of Pipe Fitters of the U.S. and Canada,

   AFL-CIO and employers in an industry affecting commerce, whose employees are

   represented by Local 798, for the purposes of providing retirement income to the employees.
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   The Pension Fund is authorized to sue in its own name by § 502(d)(1) of ERISA, 29 U.S.C. §

   1132(d)(1). The Pension Fund is administered in Tulsa, Oklahoma.

          3.     Plaintiff, PIPELINERS INDUSTRY BENEFIT FUND (“Health & Welfare

   Fund”), is an “employee welfare benefit plan” as defined in § 3(1) of ERISA, as amended, 29

   U.S.C. § 1002(1), established by the Local 798 and employers in an industry affecting

   commerce, whose employees are represented by that Union, for the purposes of providing

   medical benefits to the employees. The Health & Welfare Fund is authorized to sue in its own

   name by § 502(d)(1) of ERISA, 29 U.S.C. § 1132(d)(1). The Health & Welfare Fund is

   administered in Tulsa, Oklahoma.

          4.     Plaintiff, PIPELINE INDUSTRY ANNUITY 401(K) PLAN (“Annuity

   Fund”), is an “employee benefit plan” as defined in § 3(1) of ERISA, as amended, 29 U.S.C.

   § 1002(1), established by Local 798 and employers in an industry affecting commerce, whose

   employees are represented by that Union, for the purposes of providing annuity benefits to the

   employees. The Annuity Fund is authorized to sue in its own name by §502(d)(1) of ERISA, 29

   U.S.C. § 1132(d)(1). The Annuity Fund is administered in Tulsa, Oklahoma.

          5.     Plaintiff, Local Union No. 798 Training Center (“Training Fund”), is an

   “employee benefit plan” as defined in § 3(1) of ERISA, as amended, 29 U.S.C. § 1002(1),

   established by Local 798 and employers in an industry affecting commerce, whose

   employees are represented by that Union, for the purposes of providing apprenticeship and

   journeyman training benefits to employees. The Apprenticeship Fund is authorized to sue

   in its own name by § 502(d)(1) of ERISA, 29 U.S.C. § 1132(d)(1). The Training Center is

   administered in Tulsa, Oklahoma.




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          6.     Plaintiff, PIPELINERS LOCAL UNION 798 (“Local 798”), is a labor

   organization within the meaning of Section 2(5) of the National Labor Relations Act, 29 U.S.C.

   § 152(5), and an employee organization within the meaning of 29 U.S.C. § 1002(4). Local 798 is

   located at 4823 S 83rd E Ave, Tulsa, Oklahoma 74115.

          7.     Defendant, VOSHELL BROTHERS WELDING, INC (“Voshell Brothers”),

   is a Delaware Corporation. It has been, at all material times, an “employer” within the

   meaning of § 3(5) of ERISA, 29 U.S.C. §§ 152(2) and 1002(5). It has, at all material times,

   been engaged as a contractor or subcontractor in the industry of plumbing and pipefitting work

   and, as such, has been, and continues to be, an employer in an “industry affecting commerce” as

   defined in § 3(12) of ERISA, and 29 U.S.C. § 1002 (12). It is a Delaware, with a principal place

   of business located at 1769 Kenton Road, Dover, Delaware, 19904.             Voshell Brothers

   Welding, Inc, may be served by delivering a copy of the summons to its registered agent R.

   Brandon Jones, Esq. located at 225 South State Street, Dover, Delaware 19901.

          8.     Defendant, Gale Voshell (“G. Voshell”), a domiciliary of Delaware, is a

   principal and to the best knowledge and belief of the Plaintiffs, the sole or controlling owner

   Voshell Brothers Welding, Inc and has exercised control over the contributions due each

   Plaintiff, which are Plan assets of each Plaintiff. He may be served at 1769 Kenton Road, Dover,

   Delaware 19904.



                                II. JURISDICTION AND VENUE

          9.     Subject matter jurisdiction over this Complaint is conferred on this Honorable

   Court by 28 U.S.C. §§ 1331 and 1367; §§ 502(e) and 515 of ERISA; 29 U.S.C. §§ 1132 (e) and

   1145; and by § 301 (c) of the LMRA, 29 U.S.C. § 185 (c).

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           10.      This Court has personal jurisdiction over the Defendants under §502(e)(2) of

   ERISA, 29 U.S.C. § 1132 (e)(2) and § 301 of the LMRA, 29 U.S.C. § 185 (c). Defendants have

   conducted and continue to conduct business in the Northern District of Oklahoma, specifically

   providing mechanical and construction services to one or more individual facilities located in

   this District.

           11.      Venue is proper in the Northern District of Oklahoma, where the plans are

   administered and where the breach took place, under Section 502(e)(2) of ERISA, 29 U.S.C.

   § 1132 (e)(2) and Section 301 of the LMRA, 29 U.S.C. § 185 (a).

                                   COUNT ONE
                  (UNPAID CONTRIBUTIONS AND LIQUIDATED DAMAGES
                 AND BREACH OF COLLECTIVE BARGAINING AGREEMENT)

           12.      On June 29, 2017, Gale Voshell signed for Voshell Brothers obligating the

   company to the Collective Bargaining Agreement (“CBA”), which binds Voshell

   Brothers to pay monthly contributions to the Pension Fund, Health & Welfare Fund, and

   Training Fund, collectively the “Plaintiffs Funds” or “Funds,” on behalf of employees

   represented in collective bargaining by Local 798 for services performed at a project or projects

   in the Northern District of Oklahoma.

           13.      Under the CBA, Voshell Brothers is obligated to remit the following fringe

   benefits on behalf of employees engaged in covered employment and represented in

   collective bargaining by Local 798:

                    a.    $7.00 per hour paid to the Pipeline Industry Benefit Fund;

                    b.    $14.15 per hour paid to the Pension Fund;

                    c.    $6.62 per hour paid to the Annuity Fund;

                    d.    $.70 per hour paid to the Training Fund.

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          14.    The Collective Bargaining Agreement obligates Voshell Brothers to deduct 3% of

   its covered employees’ gross wage for dues to Local 798. Additionally, an organizing fee of

   $.50 per hour worked is also deducted.

          15.    Further, as a signatory Employer, Voshell Brothers agrees to be bound by the

   Agreements and Declarations of Trust, and rules and regulations of the Plaintiffs Funds.

          16.    The CBA and Trust Agreements require Voshell Brothers to file monthly

   remittance reports itemizing hours worked by employees in the bargaining unit and covered by

   the CBA. Employers calculate the payments they owe to the Plaintiffs Funds from these

   reports.

          17.    Voshell Brothers has failed to submit its June through October 2019 remittance

   reports and hourly fringe benefit contributions due each Fund and Local 798 for hours worked

   by employees performing covered employment.

          18.    Voshell Brothers owes interest and liquidated damages fees for its late

   submission of its October 2018 through June 2019 contributions.

          19.    The Funds and Local 798 have made several attempts to contact Voshell

   Brothers and Gale Voshell requesting that Voshell Brothers submit the outstanding reports

   and contributions. However, despite these attempts to seek compliance, Voshell Brothers has

   failed to submit the reports and remit payment of contributions owed.

          20.    The Funds are entitled to collect delinquent contributions owed from June

   through October 2019. The Plaintiffs Funds are entitled to accruing interest at 12% per

   annum.

          21.    In accordance with ERISA, the Plaintiffs Funds are also entitled to liquidated

   damages at 20% on contributions.

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          22.     The Funds are entitled to recover all costs incurred in exacting compliance

   under the CBA, Plan Documents and Trust Agreements, including the actual costs of any

   payroll audit, attorneys’ fees and costs of this litigation.

          23.     Voshell Brothers is liable for unpaid contributions owed from June through

   October 2019, liquidated damages, interest, attorneys’ fees and costs, in accordance with

   §§ 502 and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, and § 301 of the LMRA, 29 U.S.C.

   § 185, and the terms of the Funds’ Plans.

          24.     A copy of this Complaint is being served upon the Secretary of Labor and

   Secretary of Treasury by certified mail as required by 29 U.S.C. § 1132(h).

          WHEREFORE, the Plaintiffs Funds pray that this Court deem the Complaint sufficient

   and, after a trial on the merits, find for the Plaintiffs Funds, granting the following relief:

                  a. Declaratory judgement determining all unpaid contributions owed to

                      the     Pension   Fund,     Health    &     Welfare    Fund,    Annuity        Fund,

                      Apprenticeship Fund, National Pension Fund, and International Training

                      Fund;

                  b. All unpaid dues to Local 798;

                  c. Interest on all unpaid contributions;

                  d. Liquidated damages;

                  e. Reasonable attorneys’ fees and costs of litigation, including all costs of any

                      payroll audit; and

                  f. Any and all legal or equitable relief that this Court deems appropriate,

                      including an order compelling an audit of Defendants’ payroll records.




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                                            COUNT TWO

                                   (PERMANENT INJUNCTION)

          25.     Plaintiffs hereby incorporate the allegations in Paragraph 1 through 24 of this

   Complaint as if fully set forth and repeated in Count One.

          26.     Defendant Voshell Bothers Welding, Inc, pursuant to the Collective Bargaining

   Agreement and the Trust documents, is obligated to make timely contributions and remittance

   reports to the Funds and Local 798 each month.

          27.     Defendant Voshell Bothers Welding, Inc has repeatedly failed to make such

   submissions.

          28.     This persistent disregard of the contribution and reporting obligations constitutes

   a violation of the terms of employee benefit plans and the Collective Bargaining Agreement and

   threatens the Funds and the Training Center and the Funds’ and the Training Center’s

   beneficiaries with irreparable harm.

          WHEREFORE, Plaintiffs pray for a judgment in Count Two as follows:

                a. That Defendant Voshell Bothers Welding, Inc, be enjoined from failing to timely

                  pay contributions and making reports to the Funds, the Training Center, and Local

                  798 in the manner required by the applicable collective bargaining agreements;

                b. That the Plaintiffs be awarded their reasonable attorneys’ fees and costs as

                  provided in § 502(g)(2) of the ERISA, 29 U.S.C. § 1132(g)(2); and

                c. That this Court grant the Plaintiffs such further relief as is deemed just and

                  appropriate.




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                                           COUNT THREE

                                 (BREACH OF FIDUCIARY DUTY)

          29.      Plaintiffs hereby incorporate the allegations set forth in Paragraphs 1 through 28

   of this complaint as if fully set forth and repeated in Count Two.

          30.      The Funds’ contractual right to collect unpaid monthly employer contributions is

   an asset of the Funds.

          31.      Defendant, Gale Voshell as president and owner of Voshell Bothers Welding, Inc

   exercised authority and control over Fund assets, specifically unpaid monthly employer

   contributions to the Funds. Gale Voshell is liable individually and as a fiduciary of the Funds

   pursuant to § 3 (21)(A) of ERISA, 29 U.S.C. § 1002 (21)(A).

                   WHEREFORE, Plaintiffs pray for judgment as follows:

          (a)      That the Court declare Voshell Bothers Welding, Inc and Gale Voshell liable to

   the Funds for all unpaid fringe benefit contributions, plus interest and liquidated damages, due

   and owing to each Fund for hours worked by covered employees employed by Voshell Brothers

   throughout the term of the CBA.

          (b)      For an accounting by payroll audit of Voshell Bothers Welding, Inc, books and

   records, at Defendants’ expense, to verify the amount of unpaid fringe benefit contributions due

   to each Fund.

          (c)      That Defendants Voshell Bothers Welding, Inc and Gale Voshell be enjoined

   from failing to pay contributions and making reports to the Funds and Local 798 in the manner

   required by the applicable CBA.

          (d)      That the Plaintiffs be awarded their reasonable attorneys’ fees and costs as

   provided in Section 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2).

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          (e)     That this Court grant the Plaintiffs such further relief as is deemed just and

   appropriate.

          A copy of the Complaint has been served on the Secretary of Labor and the Secretary of

   the Treasury by certified mail pursuant to 29 U.S.C. § 1132(h).


                                     Respectfully submitted,

                                     ROBEIN, URANN,
                                     SPENCER, PICARD & CANGEMI, APLC


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                                   CERTIFICATE OF SERVICE

          This is to certify that a copy of the foregoing Complaint has been served by certified

   mail, as required by Section 502(h) of the Employee Retirement Income Security Act of 1974,

   29 U.S.C. § 1132(h) this 19th day of November 2019, on the following:

   Steven Terner Mnuchin
   Department of The Treasury
   1500 Pennsylvania Avenue, N.W.
   Washington, D.C. 20220


   Alexander Acosta, Secretary of Labor
   U.S. Department of Labor
   200 Construction Avenue, N.W.
   Washington, D.C. 20002



                                                /s/_W. Brant Warrick______________________




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